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FORM TO BE USED BY A PRISONER IN FILING A CIVIL RIGHTS COMPLAINT

IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

(1) Sonatina A: Srovonlee
(Name of Plaintiff) (Inmate Number)
Lackawanna County Or cae :
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(Address)
(2) : yj. 2
(Name of Plaintiff) (Inmate Number) : | - bCV 13 4
: ‘(Case Number) _
(Address)

(Each named party must be numbered,
and all names must be printed or typed)

 

 

 

vs. : CIVIL COMPLAINT
(1) Uniled Stotes of Amenica :
FILED
(2) SCRANTAn;
(3) : JUN
(Names of Defendants) : 29 2cig
: PER ,
(Each named party must be numbered, : a
and all names must be printed or typed) : DEPUTY CLE HK —

TO BE FILED UNDER: So U.S.C. § 1983 - STATE OFFICIALS
28 U.S.C. § 1331 - FEDERAL OFFICIALS

I. PREVIOUS LAWSUITS

A. If you have filed any other lawsuits in federal court while a prisoner, please list the caption and case
number including year, as well as the name of the judicial officer to whom it was assigned:

 

 

 

 

 
 

 

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Il. EXHAUSTION OF ADMINISTRATIVE REMEDIES

In order to proceed in federal court, you must fully exhaust any available administrative remedies as to
each ground on which you request action.

A. Is there a prisoner grievance procedure available at your present institution? ves No

B. - Have you fully exhausiep sour available administrative remedies regarding each of your present
claims? Yes No

C. If your answer to “B” is Yes:

1. What steps did you take?

 

 

2. What was the result?

 

 

D. If your answer to “B” is No, explain why not: The claim does mot) nvalye an

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event that ocevustd within aA ce yrectYong lheesih ty .

Il. DEFENDANTS
(1) Name of first defendant: United Slactes of America

Employed as at
Mailing address:
(2) Name of second defendant:
Employed as at
Mailing address:
(3) Name of third defendant: i
Employed as at
Mailing address:

(List any additional defendants, their employment, and addresses on extra sheets if necessary)
IV. STATEMENT OF CLAIM

 

 

 

 

(State here as briefly as possible the facts of your case. Describe how each defendant is involved, including

dates and places. Do not give any legal arguments or cite any cases or statutes. Attach no more than three
extra sheets if necessary.)

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RELIEF

(State briefly exactly what you want the court to do for you. Make no legal arguments. Cite no cases or
statutes.)

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{ declare under penalty of perjury that the foregoing is true and correct.

 

 

Gg nh ss
Signed this 24 day of Sune , 2018 .
(Signature ef PYaintiff)

 
 

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